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                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                CHARLESTON DIVISION

IN RE: ETHICON, INC. PELVIC REPAIR                                  Master File No. 2:12-MD-02327
SYSTEMS PRODUCTS LIABILITY                                                     MDL 2327
LITIGATION
------------------------------------------------------
ETHICON WAVE 6 CASES LISTED IN
EXHIBIT A                                                       JOSEPH R. GOODWIN U.S. DISTRICT
                                                                            JUDGE

                 NOTICE OF ADOPTION OF PRIOR DAUBERT MOTION OF
                         HARRY JOHNSON, M.D. FOR WAVE 6

         Comes now, the Plaintiffs, and hereby adopt and incorporate by reference the Daubert

motion filed against Harry Johnson for Ethicon Waves 3 and 4, Dkts. 3273 and 3650 (motions),

3274 and 3661 (memorandums in support). Plaintiffs respectfully request that the Court exclude

Harry Johnson’s testimony, for the reasons expressed in the Waves 3 and 4 briefing. This notice

applies to the following Wave 6 cases identified in Exhibit A attached hereto.

Dated: October 20, 2017                                  Respectfully submitted,

                                                         /s/ D. Renee Baggett
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                               EXHIBIT A

Cikota, Lisa               2:12-cv-08921
Herb, Cheryl               2:12-cv-09683
Wright, Joyce              2:13-cv-00746
Sisk, Sue                  2:13-cv-00780
Roberson, Constance        2:13-cv-01848




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                               CERTIFICATE OF SERVICE

       I hereby certify that on October 20, 2017, I electronically filed the foregoing document

with the Clerk of the court using CM/ECF system which will send notification of such filing to

the CM/ECF participants registered to receive service in this MDL.



                                            /s/ D. Renee Baggett_______________
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